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               EXHIBIT 3
                          Case 20-10343-LSS                  Doc 650-3          Filed 05/15/20           Page 2 of 2




From:                                       Weinberg, Joshua D.
Sent:                                       Tuesday, April 14, 2020 9:19 PM
To:                                         'Azer, Adrian'; Smethurst, Ryan; Wadley, Chris; Ruggeri, James P.;
                                            KMarrkand@mintz.com
Cc:                                         Martin, Ernest; Todd C. Jacobs Esq. (tjacobs@bradleyriley.com); Schiavoni, Tancred;
                                            Warner, Margaret; 'Matthew S. Sorem'; Williams, Abigail W.
Subject:                                    RE: BSA -- Mandatory Mediation -- Recommended Mediators
Attachments:                                Proposed Revised Mediation Order 4_14_20.DOCX


Adrian -- please see the attached comments from the insurers regarding the proposed order. In the interest of time, we
wanted to get these comments to you, but please be aware that the order, which we received just yesterday, remains
subject to further comment from the insurers. Thanks.

Shipman & Goodwin                 Joshua D. Weinberg                 Tel (202) 469-7754

COUNSELORS       AT LAW
                                  Shipman & Goodwin LLP              Fax (202) 469-7751
                                  Partner                            jweinberg@goodwin.com
                                  1875 K Street NW, Suite 600        www.shipmangoodwin.com
                                  Washington, DC 20006-1251
 Privileged and confidential. If received in error, please notify me by e-mail and delete the message.


From: Azer, Adrian
Sent: Tuesday, April 14, 2020 2:19 PM
To: Weinberg, Joshua D. ; Smethurst, Ryan ; Wadley, Chris ; Ruggeri, James P. ; KMarrkand@mintz.com
Cc: Martin, Ernest ; Todd C. Jacobs Esq. (tjacobs@bradleyriley.com) ; Schiavoni, Tancred ; Warner, Margaret ; 'Matthew
S. Sorem' ; Williams, Abigail W.
Subject: RE: BSA -- Mandatory Mediation -- Recommended Mediators

*EXTERNAL EMAIL*

Josh,

Please let us know what, if any, comments the insurers have to the draft Mediation Order.

Thanks,

Adrian




Adrian Azer | Partner
adrian.azer@haynesboone.com | (t) +1 202.654.4537 (m) +1 703.401.4414


From: Weinberg, Joshua D. <JWeinberg@goodwin.com>
Sent: Monday, April 13, 2020 4:43 PM
To: Azer, Adrian <Adrian.Azer@haynesboone.com>; Smethurst, Ryan <rsmethurst@mwe.com>; Wadley, Chris
<cwadley@wwmlawyers.com>; Ruggeri, James P. <JRuggeri@goodwin.com>; KMarrkand@mintz.com

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